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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-886V
                                    Filed: November 19, 2015
                                          UNPUBLISHED

****************************
CHRISTINE REDLINGER,                      *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
                                          *      Influenza (“Flu”) Vaccine;
                                          *      Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                       *      Administration (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul Brazil, Muller Brazil, LLP, Philadelphia, PA, for petitioner.
Christine Becer, U.S. Department of Justice, Washington, DC for respondent.

                                DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On August 17, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) resulting from the influenza vaccination she
received on October 9, 2014. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On November 5, 2015, a ruling on entitlement was issued, finding that petitioner
was entitled to compensation. On November 19, 2015, respondent filed a proffer on
award of compensation [“Proffer”] stating that petitioner should be awarded $80,000.00
for pain and suffering and unreimbursed medical expenses. Proffer at 1. According to
respondent’s Proffer, petitioner agrees to the proposed award of compensation. Id.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $80,000.00 in the form of a check payable to
petitioner, Christine Redlinger, for pain and suffering and suffering and
unreimbursed medical expenses. This amount represents compensation for all
damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
CHRISTINE REDLINGER,                 )
                                     )
            Petitioner,              )
                                     )  No. 15-886V
      v.                            )   Chief Special Master Dorsey
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$80,000.00 for pain and suffering and unreimbursed medical expenses, which represents all

elements of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1

Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $80,000.00 in the form of a check payable to petitioner.

Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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                                                                    2



                                   Respectfully submitted,

                                   BENJAMIN C. MIZER
                                   Principal Deputy Assistant Attorney General

                                   RUPA BHATTACHARYYA
                                   Director
                                   Torts Branch, Civil Division

                                   VINCENT J. MATANOSKI
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   MICHAEL P. MILMOE
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division


                                     s/Christine Mary Becer
                                   CHRISTINE MARY BECER
                                   Trial Attorney
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Tel: (202) 616-3665

Date:    November 19, 2015




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